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                  EXHIBIT 15
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    $                         DEPARTMENT OF HEALTH& HUMAN SERVICES                                       Off Ice of Inspector General
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      “%
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                                 NJ613~                                                                  Memorandum
                  DateA ~u~~!.h~
                        u- Inspector General        -
                  From


                            Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid
                  Subject   Prescription Drug Program of the Florida Agency for Health Care Administration
                            (A-06-95 -OO065)
                  To
                            Bruce C. Vladeck
                            Administrator                        .
                            Health Care Financing Administration


                            Attached for your information and use is our final report entitled, “Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug
                            Program of the Florida Agency for Health Care Administration.” This review was
                            conducted as part of a nationwide audit of pharmacy drug acquisition costs at the Health
                            Care Financing Administration’s request. Most States reimburse pharmacies for
                            Medicaid prescriptions using a formula which generally discounts the average
                            wholesale price (AWP) by 10.5 percent. The objective of our review was focused on
                            developing an estimate of the difference between the actual acquisition costs of drugs of
                            pharmacies and AWP for both brand name and generic drugs.

                             The Florida Agency for Health Care Administration (State Agency) was 1 of 11 States
                             randomly selected as part of the nationwide review. Florida reported drug expenditures
                             of $486.7 million in Calendar Year 1994.

                             Through statistical sampling, we obtained pricing information from 40 Florida
                             pharmacies. We obtained 2,717 invoice prices for brand name drugs, and 1,061 invoice
                             prices for generic drugs. The overall estimate of the extent that AWP exceeded
                             pharmacy purchase invoice prices was 20.2 percent for brand name drugs and
                             41.5 percent for generic drugs. The national estimates are 18.3 percent and
                             42.5 percent, respectively. The estimates combine the results for four categories of
                             pharmacies including rural-chain, rural-independent, urban-chain, and urban-
                             independent. The estimates exclude the results obtained from non-traditional
                             pharmacies (nursing home pharmacies, hospital pharmacies, home IV, etc.) because
                             such pharmacies purchase drugs at substantially greater discounts than retail
                             pharmacies, and including them would have inappropriately inflated our percentages.
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         Page 2- Bruce C. Vladeck

         We are recommending that the State Agency consider the results of this review as a
         factor in any fhture changes to pharmacy reimbursement for Medicaid drugs.

         In response to our drafl report, the State Agency responded that they had compared
         the data from our review to their current reimbursement policy and concluded that a
         change at this time was not warranted.

         We welcome any comments you have on this Florida State report. If you have any
         questions, call me or have your staff contact George M. Reeb, Assistant Inspector
         General for Health Care Financing Audits, at (410) 786-7104.

         To facilitate identification, please refer to Common Identification Number
         A-06-95-00065.

         Attachment
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  Department of Health and Human Services
             OFFICE OF
        INSPECTOR GENERAL




              REVIEW OF
PHARMACY ACQUISITION COSTS FOR DRUGS
        REIMBURSED UNDER THE
 MEDICAID PRESCRIPTION DRUG PROGRAM
                OF THE
   FLORIDA AGENCY FOR HEALTH CARE
            ADMINISTRATION




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                                               SUMMARY

    A     t the request of the Health Care Financing Administration (HCFA), the OffIce of
          Inspector General (OIG) conducted a nationwide review of pharmacy acquisition costs
    for drugs reimbursed under the Medicaid prescription drug program. Since most States
    reimburse pharmacies for Medicaid prescriptions using a formula which discounts the average
    wholesale price (AWP-), the objective of our review was to develop an estimate of the
    difference between the actual acquisition costs of drugs of the pharmacies and AWP for both
    brand name and generic drugs.

    To accomplish our objective, we selected a random sample of 11 States from a universe of
    48 States and the District of Columbia. Arizona was excluded from the universe of States
    because the Medicaid drug program is a demonstration project using prepaid cavitation
    financing and Temessee was excluded because of a waiver received to implement a statewide
    managed care program for Medicaid. Florida was one of the sample States selected, as well as
    California, Delaware, District of Columbia, Maryland, Missouri, Montana, Nebraska,
    New Jersey, North Carolina, and Virginia.

    Additionally, we selected a sample of Medicaid pharmacy pr~viders from each State and
    obtained invoices of their drug purchases. The pharmacies were selected ffom each of five
    categories--rural-chain, rural-independent, urban-chain, urban-independent and non-traditional
    pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the non-
    traditional category so as to be able to exclude those pharmacies from our overall estimates. We
    believed such pharmacies purchase drugs at substantially greater discounts than retail
    pharmacies, and including them would have inflated our percentages.

    We compared each invoice drug price to AWP for that drug and calculated the percentage, if
    any, by which AWP exceeded the invoice price. We then projected those differences to the
    universe of pharmacies in each category for each State and calculated an overall estimate for
    each State. Additionally, we proj ected the results from each State to estimate the nationwide
    difference between AWP and invoice price for each category.

    In Florida, we obtained pricing information from 40 pharmacies. Specifically, we obtained
    2,717 invoice prices for brand name drugs, and 1,061 invoice prices for generic drugs. For
    Florid% the overall estimate of the extent that AWP exceeded invoice prices was 20.2 percent for
    brand name drugs and 41.5 percent for generic drugs. The national estimates are 18.3 percent
    and 42.5 percent, respectively. The estimates combine the results for four categories of
    pharmacies including rural-chain, rural-independent, urban-chain and urban-independent and
    exclude the results obtained from non-traditional pharmacies.



      Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under theMedicaid Prescription Drug Program
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We are recommending that the Florida Agency for Health Care Administration (State Agency)
consider the results of this review as a factor in any fiture changes to pharmacy reimbursement
for Medicaid drugs. We will share the information with HCFA from all 11 States in a
consolidation report for their use in evaluating the overall Medicaid drug program.

The Director of the State Agency responded to our draft report in a letter dated May 23, 1996.
The Director stated that the State Agency had reviewed the OIG data files relevant to the Florida
portion of this review and compared the invoice prices on those data files to their current
reimbursements limits. The State Agency concluded that 74 percent of the drugs in the review
are currently reimbursed at less than 10 percent above the invoice price. The Director also
asserted that the State Agency believed that the OIG had incorrectly calculated values for oral
contraceptives. The full text of the Director’s comments are included in Appendix 4.

We reviewed the calculated values for every oral contraceptive on the data file and concluded
that those values were calculated correctly. In subsequent discussions with a State Agency
official, the official agreed that the values were calculated correctly.




  Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under theMedicaid Prescription Drug Program
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                                      I NTRODUCTION
At the request of HCFA, OIG, Office of Audit Services (OAS) conducted a review of pharmacy
acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
Florida Agency for Health Care Administration (State Agency). The objective of our review was
to develop an estimate of the difference between the actual acquisition costs of drugs and AWP.
This review was conducted as a part of a nationwide review of pharmacy acquisition costs.
Florida was 1 of 11 States randomly selected as part of the nationwide review.

BACKGROUND

Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
usual and customary charge to the general public or an upper limit amount plus a dispensing fee.
The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
name) drug, or a generic drug for which an upper limit amount has not been established, then the
reimbursement is the lower of the pharmacist’s usual and customary charge to the general public
or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
responsible for determining the EAC and the dispensing fee.

The EAC for most States is calculated by using AWP for a drug less some percentage. The
AWP is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
Medhpan or the Blue Book--publications universally used in the pharmaceutical industry. Prior
to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs for
15.9 percent below AWP. In 1989, OIG issued a follow-up report which concluded that
pharmacies were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and
1989 reports combined brand name and generic drugs in calculating the percentage discounts and
included a comparison of 3,469 and 4,723 purchases, respectively.

In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
paid for drugs by as much as 10 to 20 percent. The Manual fhrther provided that, absent valid
documentation to the contrary, it would not be acceptable for a State to make reimbursements
using AWP without a significant discount.

In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
4-year moratorium on changes to States’ reimbursement policies. The moratorium expired on
December 31, 1994 and HCFA requested that we, once again, determine the difference between
AWP and actual pharmacy acquisition cost.


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The State Agency reported drug expenditures of $486.7 million in Calendar Year (CY) 1994.

SCOPE

Our review was performed in accordance with generally accepted government auditing standards.
The objective of our review was to develop an estimate of the difference between AWP and the
actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
providers. Our objective did not require that we identifi or review any internal control systems.

Our review was limited to ingredient acquisition costs and did not address other areas such as:
the effect of Medicaid business as a contribution to other store sales; the cost to provide
professional services other than dispensing a prescription such as therapeutic interventions,
patient education, and physician consultation; and the cost of dispensing which includes costs for
computers, multi-part labels, containers, technical staff, transaction fees, Medicaid specific
administrative costs, and general overhead. We also did not take into consideration the effect of
Federal upper limit amounts on generic drug reimbursements or usual and customary charge
limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
reimbursements in a subsequent review.

We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
Agency was responsible for classifying each pharmacy as chain, independent or non-traditional.
For purposes of this review, a chain was defined as four or more pharmacies with common
ownership. We determined whether each pharmacy was rural or urban by comparing the county
location for each pharmacy to a December 31, 1992 listing of metropolitan areas and their
components. We selected a stratified random sample of 60 pharmacies with 12 pharmacies
selected from each of 5 strata--rural-chain, rural-independent, urban-chain, urban-independent,
and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). We
included the non-traditional category so as to be able to exclude those pharmacies from our
estimates. We believed that such pharmacies are able to purchase drugs at substantially greater
discounts than a retail pharmacy and would inflate our estimate.

We requested, from each pharmacy selected, the largest invoice from each different source of
supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
Each pharmacy was initially assigned a month from January through September in order to
provide a cross-section of this 9-month time period. However, we permitted some pharmacies to
provide invoices from October and November as invoices were not available from the earlier
period.



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    We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that
    the invoices contained the information necessary for our review. We eliminated over-the-counter
    items. Some invoices did not include National Drug Codes (NDC), which were needed to obtain
    AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red
    l?ook, a nationally recognized reference for drug product and pricing information, to obtain
    NDCS or identifi over-the-counter items. One prominent wholesaler, whose invoices contained
    that wholesaler’s item number rather than NDCS, provided us with a listing that converted their
    item number to an NDC. If we were unable to identi~ the NDC for a drug, we eliminated the
    drug. This was a common occurrence for generic drugs where there was no indication on the
    invoice as to the manufacturer of the drug.

    We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
    We used that listing to classi~ each drug on the invoices as brand or generic. If a drug was not
    on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
    Additionally, we obtained drug expenditure information from HCFA-64 Reports.

    The State of Missouri provided us with a pricing file for the purpose of obtaining the Awl? for
    each drug. We compared the invoice drug price to AWP for each drug and calculated the
    percentage, if any, by which AWP exceeded the invoice price. If a drug from an invoice was not
    on the pricing file we eliminated that drug.

    An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
    pharmacy representatives from the sample States. At this meeting, we presented a methodology
    for performing the review and the methodology was refined with input from the State
    representatives. At a follow-up meeting held in Richmond, Virgini% on September 27-28,
    1995, we presented the results of our review with the sample States.

    We used OAS statistical computer software to calculate all estimates as well as to generate all
    random numbers. We did not independently verify any information obtained from third party
    sources. Our review was conducted by our Little Rock, Arkansas OAS field office with
    assistance from our OAS field offices in Baton Rouge, Louisiana and Austin, Texas from
    September 1994 to September 1995.




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                             FINDINGS AND RECOMMENDATIONS
    BR.4 :\;l) iYz4 ME DR UGS’

    We estimate that AWP exceeded invoice prices for Ivzl}d twnc cinl.g.s b y 20.2 percent. The
    estimate combined all pharmacy categories except non-traditional pharmacies and was based on
    the comparison to Awl? of 2,668 invoice prices received from 35 pharmacies. The standard
    deviation for this estimate was 2.22 percent (see Appendix 2).

    The estimates by individual categories for brutal }wme hgs are summarized in the following
    table:

                                                       Estimat@3d Differenc -

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          ‘IS

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     The following table shows the number of pharmacies sampled and the number of prices
     reviewed by individual category for iuw d lwnt’ drtigs.

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GL’;VERIC l>l?[~~.$’

We estimate that AWP exceeded invoice prices for g~JI)cric. C{I!lK.S by 41.5 percent. Once again
the estimate combined all pharmacy categories except non-traditional pharmacies. The estimate
was based on the comparison to AWP of 1,021 invoice prices received from 35 pharmacies. The
standard deviation for this estimate was 2.19 percent (see Appendix 2).

The estimates that AWP exceeded invoice prices for gel)eric dr~tcqs are summarized by individual
categories in the following table:


                                                    Estimated         Diff=rc3nee



     7   0

     Go

     50

     4   0

     30

     2   0

      1 0

         0




 The following table shows the number of pharmacies sampled and the number of prices
 reviewed by individual category for the guiwric drugs.
                                                    Number o f                             PriGes f r o m
                                                 Sample P h a r m a c i e s             Sample -harm aci=s



                    Rural-Chain



   R u r a ! - i n d e p e n d e n t



                  l_Jrban-Ch=ln



   Urban -lndepan den t



             r . J o n - T r a d i t i o n a l



   O v e r a l l      (Exc. Non T;




     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                                                 of the Florida Agency for Health Care Administration
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                 C ONCLUSIONS                  AND         RECOMMENDATION

Based on our review, we have determined that there is a significant difference between AWP and
pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
significantly greater for generic drugs than for brand name drugs. In general, State
representatives believed that the review supported current State practices to establish pharmacy
reimbursement for ingredient cost at levels below AWP.

We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
any change to that policy should also consider the other factors discussed in the Scope section of
our report. Additionally, the effect of Federal upper limit amounts on generic drug
reimbursements or usual and customary charge limitations should be taken into consideration.
However, a change in any of the factors affecting pharmacy reimbursement could have a
significant impact on expenditures because of the size of the program ($486.7 million) in Florida.
We believe that the difference between AWP and pharmacy acquisition costs as determined by
our review is significant enough to warrant consideration by the State in any evaluation of the
drug program. Therefore, we recommend that the State Agency consider the results of this
review in determining any future changes to pharmacy reimbursement for Medicaid drugs.

STATE AGENCY’S COMMENTS

The Director of the State Agency responded to our draft report in a letter dated May 23, 1996.
The Director stated that the State Agency had reviewed the OIG data files relevant to the Florida
portion of this review and compared the invoice prices on those data files to their current
reimbursements limits. The State Agency concluded that 74 percent of the drugs in the review
are currently reimbursed at less than 10 percent above the invoice price. The Director also
asserted that the State Agency believed that the OIG had incorrectly calculated values for oral
contraceptives. The fill text of the Director’s comments are included in Appendix 4.

OIG’S RESPONSE

We reviewed the calculated values for every oral contraceptive on the data file and concluded
that those values were calculated correctly. In subsequent discussions with a State Agency
official, the official agreed that the values were calculated correctly.




  Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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                           APPENDICES
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                                                                              APPENDIX 1
                                                                               PAGE 1 of 2



                               SAMPLE DESCUPTION

    Sample Objectives:

         Develop an estimate of the extent that Average Wholesale Prices (AWP) exceed actual
         invoice prices to Medicaid pharmacies in Florida for brand name drugs and for generic
         drugs.

    Population:

         The sampling population was pharmacy providers participating in the Medicaid
         prescription drug program of the State Agency.

    Sampling Frame:

         The sampling frame was a listing of all pharmacy providers participating in the Medicaid
         prescription drug program.

    Sample Design:

         A sample of 12 pharmacies was randomly selected from each of 5 strata. The five strata
         of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
         non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.) Each
         pharmacy was assigned a month Iiom 1994 for which to provide invoices. All
         pharmacies were initially assigned a month from January through September in a method
         designed to provide a cross-section of the 9-month period. However, some pharmacies
         were permitted to submit invoices from October and November as invoices were not
         available for the month originally assigned. The largest invoice from each of four
         different sources of supply was requested. The sources of supply were identified as
         wholesalers, chain warehouse distribution centers, generic distributors, and direct
         manufacturer purchases. All invoice prices were compared to AWP.
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                                                                              APPENDLX 1
                                                                               PAGE 2 of 2 “


    Sample Size:

         Twelve pharmacies were selected from each stratum for a total of 60 pharmacies.

    Source of Random Numbers:

         OAS statistical sampling software was used to generate the random numbers.

    Characteristics to be Measured:

         From our review of the pharmacy invoices, we calculated the percentage that AWP
         exceeded actual invoice prices for all drugs on the invoices submitted.

    Treatment of Missing Sample Items:

         No spare was substituted for a pharmacy that did not provide information. If a pharmacy
         did not send an invoice for a particular type of supplier, we assumed that the pharmacy
         did not purchase drugs from that type of supplier during the month assigned to the
         pharmacy.

    Estimation Methodolo~:

         We used OAS Statistical Software to projec. the percentage difference between AWP and
         actual invoice prices for each stratum, as well as an overall percentage difference. The
         overall percentage difference excluded the non-traditional pharmacies. The projections
         were done separately for brand name drugs and generics.

    Other Evidence:

          We obtained AWP from First DataBank.
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                                                                                        APPENDIX 2

                          FLORIDA SAMPLE RESULTS
                       BRAND NAME AND GENERIC DRUGS




                                                                                           90 PERCENT
                                                   DRUG                                  CONFIDENCE i.EVEL
                                                                                        —.
                              SAMPLE     :AMPLE   PRICES      POINT      STANDARD       LOWER     UPPER

          CATEGORY            RWVERSE    SIZE     EVIEWE~    NTMATE      DEVIATION                  LIMIT
                                         ~



   RURAL-CHAIN                     131                 854        20.3          2.23        19.02     21.53


   RUWNANDEPENDENT                  85                320         17.2          0.60        16.89     17.56


   URBAN-CHAIN                   1,848               1,310        19.4          2.18        18.35      20.51


   URBAN-INDEPENDENT               809                 184        22.4         21.97         9.70      35.12


   NON-TRADITIONAL                 436                 49         31.7         16.51        19.65     43.79


   OVERALL (EXCL. NON-W          2,873               2,668        20.2          2.22        16.59     23.89




   RUlL4LCHAIN                    131         8       250        41.9           6.82        38.06     45.74


   RURAL-INDEPENDENT               85         8        184        41.0         12.03        34.30     47.62


   URBAN-CHAIN                   1,848       11       398         39.5         10.22        34.43     44.54


   URBAN-INDEPENDENT              809         8        189        46.0          9.31        40.58      51.35


   QON-TRAD~ONAL                  436         5         40        63.0          13.04       53.46     72.54


   3VERALL (EXCL. NON-TRAD)      2,873       35      1,021        41.5          2.19        37.86      45.06
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                                                                                          APPENDIX 3

                               NATIONWIDE SAMPLE RESULTS
                               BRAND NAME AND GENERIC DRUGS




                                                                                                     90 PERCENT
                                                     DRUG                                        CONFIDENCE LEVEL

                                 SAMPLE              PRrcl?s         POINT       STANDARD        LOWER       UPPER
                                UNIVERSE ~          REVIEWED        ESTIMATE      ERROR                      LIMIT
=


    RURALCHAIN                        1,095    73           5,723        17.40         1.05          15.67     19.13


    RUR=U.INDEPENDENT                 1,499    7:         3,043          16.39         1.07          14.63     18.15
B
R   URBAN-CHAIN                       8,194    7!           7,198        18.45         0.52          17.60     19.31
A
N   URBAN-INDEPENDENT                 6,242    91         3,009          18.71         0.90          17.22     20.19
D
    NON-TRADITIONAL                   2,026    6(           1,762        27.52         2.28          23.76     31.27


    DVERALL (EXCL. NON-TR41          17,030   31!        18,973          18.30         0.66          17.21     19.38



=



    RURAL-CHAIN                       1,095    73         2,963          47.51         1.63          44.82     50.20


G   RURAMNDEPENDENT                   1,499    78           1,798        47.38         0.93          45.85     48.92
E
N   URBAN-CHAIN                       8,194    72           2,634        37.61         2.82          32.97     42.26
E
R    YR13AN-INDEPENDENT               6,242    91           1,680        46.72         2.44          42.70     50.73
I
c    vON-TRADI’IIONAL                 2,026    59           1,262        57.70            1.98       54.43     60.96


     3VER4LL (EXCL. NON-TRAI         17,030   314           9,075        42.45         0.90          40.97     43.93



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       Case 1:01-cv-12257-PBS Document 6208-17 Filed 06/29/09 APPENDIX
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                    STATE OF FLORIDA
                    AGENCY FOR 13EALTH CARE ADMINISTRATION
                                                                    May 23, 1996



    Ms. June Gibbs Brown
    Inspector General
    Department of Health and Human Services
    WashingtoIZ DC 20201

    Dear Ms. Brown:

    Thank you for sharing the drafi results of your review of acquisition costs for drugs reimbursed
    under Medicaid prescription drug programs.

    * you are aware, Florida Medicaid does not reimburse pharmacies based on average wholesale
    pricts (AWP), but usc a reimbursement methodology based on our best estimate of the charge
    made by wholesalers to retail pharmacies, our estimated acquisition cost (EAC). Florida
    Medicaid EAC is an increase of seven percent above the prices charged to wholesalers and is
    based on audits conducted in 1986. At that time, this reimbursement methodology equated to a
    reduction of 11 to 12 percent below published AWP listings and precluded most gaming of the
    system through deliberate inflation of suggested AWP levels by wholesalers or manufacturers.
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    Comparing acquisition costs for Florida pharmacies to AWP, as an academic exercise, proves that
    pharmacies, like almost all retail businesses, purchase goods at some discount below suggested
    list prices, but does not provide an indication of need to change current reimbursement policy.
    We have reviewed OIG data files relevant to Florida Medicaid and find that81 percent of the
    products sumeyed are reimbursed at less than 10 percent above net acquisition cost with 74
    percent of these between 90 and 110 percent of the net acquisition cost. We did find that the OIG
    files incorrectly calculated values for most oral contraceptives and that the data included what
    appear to be a few random data ent~ errors which resulted in abnormally high and low values,
    depending on the error. ‘

    We can conclude from the suwey results that some manufacturers do not correctly report
    promotional prices for competitive products and the reported EAC price maybeinflated by as
    much as a factor often times actual cost. In most of these cases, Florida imposes the federal
    upper limit price which also does not fully capture all available discounts and pharmacies may still
    have significant markups. In most cases, the products are multi-source. Restricting
    reimbursement to actual cost might have the unintended effect of discouraging purchase of
    promotional products and eventually shifting the market to single-source products which are
    universally much more costly. The average multi-source prescription costs Medicaid less than
    $11 and t:.: average +gle-source product averages over $45.




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     Injectable products and associated intravenous fluids also continue to be problematic.
     Manufacturers offer contracts to most vendors providing very favorable pricing and terms, but
     manufacturers continue to market small quantities of these through conventional sources and
     report single unit pricing through the national data sources. Any assistance your office might
     offer in standardking pricing in this market would be beneficial.

     We will continue to monitor pharmacy acquisition costs and manufacturer reporting anomalies to
     ensure compliance with HCFA guidelines. If you have any questions or firther comments, please
     contact Gary Crayto~ Medicaid Director, at (904) 488-3560 or Jerry Wells, Pharmacy Program
     Manager, at (904) 922-0681.




                                                         Douglas M. Cook
                                                         Director

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